Howard A. Belodoff, ISB # 2290
Idaho Legal Aid Services, Inc.
1447 S. Tyrell Lane
Boise, ID 83706
Tel: (208) 807-2323 Fax: (208) 342-2561
howardbelodoff@idaholegalaid.org

Jane Gordon, ISB # 9243
Jane Gordon Law
1004 West Fort Street
Boise ID 83702
Tel: (208) 371-4747; Fax: (208) 807-2290
Jane@JaneGordonLaw.com

Attorneys for Plaintiffs

                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF IDAHO

 MH, TB, KB, SG, AC, BM, individually, and
 G Doe, by and through her parents and next
 friends, JANE Doe and JOHN Doe,                          CASE NO. 1:22-CV-409-REP

        Plaintiffs,                                       MOTION FOR A TEMPORARY
                                                          RESTRAINING ORDER AND
 vs.                                                      PRELIMINARY INJUNCTION

 ALEX ADAMS, in his official capacity as the
 Director of the Idaho Department of Health
 and Welfare; Dr. MAGNI HAMSO, in her
 official capacity as the Medical Director of the
 Idaho Division of Medicaid and individually;
 and the IDAHO DEPARTMENT OF
 HEALTH AND WELFARE, v

        Defendants.


       COME NOW Plaintiffs, by and through their counsel, Howard A. Belodoff, Idaho Legal

Aid Services, Inc. and Jane Gordon, Jane Gordon Law, pursuant to Fed. R. Civ. Proc. 65(a) &

(b), to respectfully move this Court for a Temporary Restraining Order (“TRO”) to preserve the

status quo until the Court can consider the issuance of a Preliminary Injunction.


MOTION FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY
INJUNCTION – Page 1
      The grounds upon which this Motion is made are more fully set forth in the

Memorandum filed in support.

      DATED: September 26, 2024.

                                                  IDAHO LEGAL AID SERVICES, INC.

                                                  /s/ Howard A. Belodoff
                                                  Howard A. Belodoff

                                                  JANE GORDON LAW

                                                  /s/ Jane Gordon
                                                  Jane Gordon

                                                  Attorneys for Plaintiffs




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INJUNCTION – Page 2
